Case 4:24-cv-00033-AMA-PK Document 28-6 Filed 07/15/24 PageID.1065 Page 1 of 8




                       Exhibit F
Case 4:24-cv-00033-AMA-PK Document 28-6 Filed 07/15/24 PageID.1066 Page 2 of 8
Case 4:24-cv-00033-AMA-PK Document 28-6 Filed 07/15/24 PageID.1067 Page 3 of 8
Case 4:24-cv-00033-AMA-PK Document 28-6 Filed 07/15/24 PageID.1068 Page 4 of 8
Case 4:24-cv-00033-AMA-PK Document 28-6 Filed 07/15/24 PageID.1069 Page 5 of 8
Case 4:24-cv-00033-AMA-PK Document 28-6 Filed 07/15/24 PageID.1070 Page 6 of 8
Case 4:24-cv-00033-AMA-PK Document 28-6 Filed 07/15/24 PageID.1071 Page 7 of 8
Case 4:24-cv-00033-AMA-PK Document 28-6 Filed 07/15/24 PageID.1072 Page 8 of 8
